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« Pro Se | (Rev. 09/16) Complaint for a Civil Case

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. a UNITED STATES DISTRICT COURHER(S Sr 1p¢
eS - for the a 2925 HAR 3] PH I: 5]

District of Massachusetts

Case No.

“(to be filled in by the Clerk’s Office)

() )
)
\
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. * ote
Uf the names of all the plaintig?s cannot fit in the space above, Jury Trial: (check one) Yes [_]No
)

lease write “see attached" in the space and attach an additional
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Nee Pec eon PSE BGCE ck
Nontncdn td oft Seca ceck Vallsp
HocottaloAl unwed Un lnoorlehe
aes GAN Defendants) “Sceyre. Re Sj
)

(Write the full name of each defendant who is being sued.

names of all the defendants cannot fit in the space above, please

write “see attached” in the space and attach an additional page )
« with the full list of names.)

COMPLAINT FOR A CIVIL CASE di

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Mvreloed

Street Address Wire G

City and County np he corirand Pen
State and Zip Code Maine OY AB
Telephone Number Ny| \A

E-mail Address N x

a Mai "B= POBox 30 Seabrook, NY OF a7g¥

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person's job or title (ifknown). Attach additional pages if neede . « laa’
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Filed 03/31/25

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Defendant No. |
Name
Job or Title (ifkrown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Norther

Defendant No. 2

- Name
Job or Title (known)
Street Address
City and County
State and Zip Code

:- Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4

Name
: Job or Title (éf known)

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

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b. If the defendant is a corporation
The defendant, (name) N orthern Leghty. s X Mee Pons under
f the State of (name, ~ Ce Bees its
the laws of the State of (name) VV cine —

principal place of business in the State of (name) PO 4. ee _
TT ™
Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name) Maine.

(if more than one defendant is named in the complaint, attach an additional page providing the
‘same information for each additional defendant.)

3, The Amount in Controversy / 5 +t al ( eppliceble deamage §

_ The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (expiain):

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Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach on he ages if needed.
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IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages. ~

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A.

For Parties Without an Attorney

| agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk's Office may result

in the disinissal of my case. .

Date of signing: | lo ¥/ 9 b4,S Lufoas
/ ry]

Signature of Plaintiff , .

Printed Name of Plaintiff

For Attorneys

Date of signing:

Signature of Attorney

Bar Number

Name of Law Firm Le no crete suewane (eemamee tissues fren tentin sone teaetausnece senses ane ne nese
Street Address ” So cece at meee
State and Zip Code vie ec enantio tee be

Telephone Number
E-mail Address

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